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620 8th Avenue               The Honorable Allison D. Burroughs
New York, NY 10018
nytimes.com                  United States District Court
                             District of Massachusetts
                             One Courthouse Way
                             Boston, MA 02210

                             Re:    Students for Fair Admissions, Inc. v. President and Fellows of
                                    Harvard College et al, No. 14cv14176-ADB

                             Dear Judge Burroughs:

                                    I am counsel to The New York Times Company and reporters
                             Anemona Hartocollis and Adam Liptak (collectively, “The Times”). On
                             November 11, 2022, Professor Jeannie Suk Gersen wrote to the Court,
                             requesting that sealed sidebar transcripts in the above-referenced case be
                             unsealed and made available to the public. The Times writes in support of
                             Prof. Gersen’s request and to further request that the Court review and
                             make appropriately available to the public any other sealed or confidential
                             records in this case.

                                      As part of our national commitment to democratic government, it
                             is well-settled that there is a First Amendment and common law right of
                             access to judicial records and proceedings. This is because “public
                             monitoring of the judicial system fosters important values of quality,
                             honesty, and respect for our legal system.” Siedle v. Putnam Invs., Inc.,
                             147 F.3d 7, 9-10 (1st Cir. 1998). See also Globe Newspaper Co. v.
                             Superior Court, 457 U.S. 596, 606 (1982). That commitment to
                             transparency extends not just to trial proceedings but also to “sidebar or
                             chambers conferences.” United States v. Smith, 787 F.2d 111, 116 (3d Cir.
                             1986).

                                     While the right of access is qualified, “the scales tilt decidedly
                             toward transparency.” Nat’l Org. for Marriage v. McKee, 649 F.3d 34, 70
                             (1st Cir. 2011). The party seeking sealing—or seeking to maintain
                             sealing—bears the burden of showing that sealing is justified by higher
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        values that outweigh the public’s right of access and that sealing is
        narrowly tailored to serve that interest. Press-Enterprise Co. v. Superior
        Court of Cal., 464 U.S. 501, 510 (1984)). See also Poliquin v. Garden
        Way, 989 F.2d 527, 533 (1st Cir. 1993) (“[O]nly the most compelling
        reasons can justify the non-disclosure of judicial records.” (quotation and
        citation omitted)).

                 And, as courts in this district have noted, “the public interest is
        strongest (and the burden to overcome it the highest) for documents
        introduced at trial or included in an appellate record.” Bradford &
        Bigelow, Inc. v. Richardson, 109 F. Supp. 3d 445, 448 (D. Mass. 2015)
        (citations omitted) (emphasis added). Here, as Prof. Gersen noted, the
        transcripts at issue are part of the appellate record now before the United
        States Supreme Court.

                On November 15, 2022, defendant Harvard University opposed
        unsealing, arguing, first, that the records at issue contain information
        designated confidential by the parties pursuant to a protective order. But
        the parties’ agreement to a protective order is not a proper basis for
        sealing. Bradford & Bigelow, Inc., 109 F. Supp. 3d at 447-48 (D. Mass.
        2015) (“[Parties] may not rely solely on their designations under a
        discovery protective order to support sealing motions; they must show that
        each document they seek to seal should be sealed under the appropriate
        standard.”).

                Harvard also opposes unsealing on the basis that the transcripts
        contain “personal and confidential information.” Harvard does not identify
        what information is at issue or how it would result in a harm that
        outweighs the public interest. This is insufficient. See, e.g., Poliquin, 989
        F.2d at 533 (“garden-variety” claims of confidentiality or embarrassment
        are not a compelling reason to seal judicial records).

                As You Honor is well aware, this case is of national significance
        with the potential to significantly alter higher education. The public
        therefore has a substantial interested in examining and understanding the
        record now before the United States Supreme Court. In contrast, as Prof.
        Gersen has highlighted, the passage of time makes it less likely that
        private interests rise to a level that would justify continued sealing.

               To the extent that there are interests that continue to justify sealing,
        The Times respectfully requests that the Court consider whether redaction
        of specific portions of the sealed records may be a more appropriate
        remedy. See, e.g., United States v. Kravetz, 706 F.3d 47, 62 (1st Cir. 2013)
        (“[W]here the public’s right of access competes with privacy rights, it is


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        proper for the district court, after weighing competing interests, to edit and
        redact a judicial document in order to allow access to appropriate portions
        of the document.” (quotation omitted)).

        Respectfully submitted,




        Dana Green




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